 

Case 06-10295-RAM Doci Filed 01/31/06 Page 1 of 39

(Official Form 1). (10/05)

 

Southern District of Florida

United States Bankruptcy Court

Voluntary Petition

 

 

Name of Debtor (if individual, enter Last, First, Middle):
Almeida, Guillermo

Name of Joint Debtor (Spouse) (Last, First, Middle):
Almeida, Miriam

 

All Other Names used by the Debtor in the last 8 years
(include married, maiden, and trade names):

All Other Names used by the Joint Debtor in the last § years
(include married, maiden, and trade names):

 

Last four digits of Soc. Sec./Complete EIN or other Tax ID No. (if more than one, state all)
XXX-XX-6213

Last four digits of Soc. Sec./Complete EIN or other Tax ID No. (if more than one, state all)
XXx-xx-2052

 

Street Address of Debtor (No. & Street, City, and State):
9375 Fountainbleu Bivd.

Street Address of Joint Debtor (No. & Street, City, and State):
9375 Fountainbleu Bivd.

 

 

 

#314 #314
Miami, FL ZIP Code Miami, FL ZIP Code
oo 33172 33172
County ofResidence orof the Principal Place of Business: County of Residence or of the Principal Place of Business:
Miarhi-Dade Miami-Dade
Mailing Address of De}for (if different from street address): Mailing Address of Joint Debtor (if different from street address):
ZIP Code ZIP Code

 

 

Location of Principal Assets of Business Debtor
(if different from street address above):

 

Nature of Business
(Check all applicable boxes.)

O Health Care Business

(C1 Single Asset Real Estate as defined
in 11 U.S.C. § 101 (51B)

CI Railroad
DO Stockbroker
O Commodity Broker

Type of Debtor (Form of Organization)
(Check one box)

I Individual (includes Joint Debtors)
0 Corporation (includes LLC and LLP)
O Partnership

7 Other (If debtor is not one of the above
entities, check this box and provide the
information requested below.)

Chapter of Bankruptcy Code Under Which
the Petition is Filed (Check one box)

0) Chapter 7 0) Chapter 11 O) Chapter 15 Petition for Recognition
of a Foreign Main Proceeding
(] Chapter 9 > Chapter 12 O Chapter 15 Petition for Recognition

  
  

of a Foreign Nonmain Proceeding
ME Chapte/ 13

 

State type of entity: C Clearing Bank

1 Nonprofit Organization qualified
under 15 U.S.C. § 501(c)(3)

 

— Nature of Debts (Check one box)

i Consumer/Non-Business O Business

 

Filing Fee (Check one box)
Wi Full Filing Fee attached
O Filing Fee to be paid in installments (Applicable to individuals only) Must

attach signed application for the court's consideration certifying that the debtor
is unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.

O Filing Fee waiver requested (Applicable to chapter 7 individuals only). Must
attach signed application for the court's consideration. See Official Form 3B.

Chapter 11 Debtors
Check one box:

0 Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
OD Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).

 

Check if:

CO] Debtor's aggregate noncontingent liquidated debts owed to non-insiders
or affiliates are less than $2 million.

 

 

 

 

 

 

Statistical/Administrative Information THIS SPACE IS FOR COURT USE ONLY
Wi Debtor estimates that funds will be available for distribution to unsecured creditors.
DD Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds
available for distribution to unsecured creditors.
Estimated Number of Creditors
1- 50- 100- 200- 1000- 5001- 10,001- 25,001 - 50,001- OVER ~~
49 99 199 999 5,000 10,000 25,000 $0,000 100,000 100,000 a
mn
a Oo Oo Oo O Oo Oo | oO oO
Estimated Assets
$0 to $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 to $50,000,001 to More than
$50,000 $100,000 $500,000 $1 million $10 million $50 million $100 million $100 million
= Oo Oo oO Oo O O |
Estimated Debts
$0 to $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 to $50,000,001 to More than
$50,000 $100,000 $500,000 $1 million $10 million $50 million $100 million $100 million
a Oo O Oo | O 0 QO

 

 

 

 

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Official Form 1) (10/05)

FORM BI, Page 3

 

Voluntary Petition

(This page must be completed and filed in every case)

Name of Debtor(s):
Almeida, Guillermo
Almeida, Miriam

 

Signature(s) of Debtor(s) (Individual/Joint)

I declare under penalty of perjury that the information provided in
this petition is true and correct.

[If petitioner is an individual whose debts are primarily consumer
debts and has chosen to file under chapter 7] I am aware that I may
proceed under chapter 7, 11, 12, or 13 of title 11, United States
Code, understand the relief available under each such chapter, and
choose to proceed under chapter 7.

[If no attorney represents me and no bankruptcy petition preparer
signs the petition] I have obtained and read the notice required by
§342(b) of the Bankruptcy Code.

I request relief in accordance with the ee te 11, United
States Codes Specified i in th this petition.
>. cae Cnc Ma aad

_Signature 0: tor Guillerm
StCYhiiai Pde

Signatures

Signature of a Foreign Representative

I declare under penalty of perjury that the information provided in this petition
is true and correct, that I] am the foreign representative of a debtor in a foreign
proceeding, and that I am authorized to file this petition.

(Check only one box.)

(3 [ request relief in accordance with chapter 15 of title 11. United States Code.
Certified copies of the documents required by §1515 of title 11 are attached.

D Pursuant to §1511 of title 11, United States Code, I request relief in accor-
dance with the chapter of title 11 specified in this petition. A certified copy
of the order granting recognition of the foreign main proceeding is attached.

x

 

Signature of Foreign Representative

 

Printed Name of Foreign Representative

 

Date

 

 

Signatye abe Debtor Mirtam Almeida

 

Telephone Number (If not represented by attorney)

 

Date

 

Signature of Attorney

Mt

Sieratre of eomey for Debtor(s)

Mitchell ¥. Nowack 0099661
Printed Name of Attorney for Debtor(s)

Law Office of Mitchell J. Nowack, P.A.
Firm Name

8180 N.W. 36th Street

Suite 229

Doral, FL 33166

 

Address

Email: lawoffice@mnowack.com
(305)698-2265 Fax: (305)463-9113
Telephpne Nomber

t/a
Date/ /

 

Signature of Debtor (Corporation/Partnership)
I declare under penalty of perjury that the information provided in

this petition is true and correct, and that I have been authorized to
file this petition on behalf of the debtor.

United States Code, specified in this petition.

Xx

 

Signature of Authorized Individual

 

Printed Name of Authorized Individual

 

Title of Authorized Individual

 

Date

 

The debtor requests relief in accordance with the chapter of title 11,

 

Signature of Non-Attorney Bankruptcy Petition Preparer

I declare under penalty of perjury that: (1) I] am a bankruptcy
petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this
document for compensation and have provided the debtor with a
copy of this document and the notices and information required
under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules or
guidelines have been promulgated pursuant to 11 U.S.C. § 110(h)
setting a maximum fee for services chargeable by bankruptcy
petition preparers, I have given the debtor notice of the maximum
amount before preparing any document for filing for a debtor or
accepting any fee from the debtor, as required in that section.
Official Form 19B is attached.

 

Printed Name and title, if any, of Bankruptcy Petition Preparer

 

Social Security number (If the bankrutpcy petition preparer is not
an individual, state the Social Security number of the officer,
principal, responsible person or partner of the bankruptcy petition
preparer.)(Required by 11 U.S.C. § 110.)

 

Address

 

 

Date

Signature of Bankruptcy Petition Preparer or officer, principal,
responsible person,or partner whose social security number is
provided above.

Names and Social Security numbers of all other individuals who
prepared or assisted in preparing this document unless the
bankruptcy petition preparer is not an individual:

If more than one person prepared this document, attach additional
sheets conforming to the appropriate official form for each person.

A bankruptcy petition preparer’s failure to comply with the
provisions of title 11 and the Federal Rules of Bankruptcy
Procedure may result in fines or imprisonment or both 1] U.S.C.
$110, 18 USC. $156.

 

 
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Official Form 1) (10/05)

= FORM BI, Page 2

 

Voluntary Petition

(This page must be completed and filed in every case)

Name of Debtor(s):
Aimeida, Guillermo
Almeida, Miriam

 

Prior Bankruptcy Case Filed Within Last 8

Years (If more than one, attach additional sheet)

 

 

 

 

 

 

(To be completed if debtor is required to file periodic reports (e.g.,
forms 10K and 10Q) with the Securities and Exchange Commission
pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934
and is requesting relief under chapter 11.)

0 Exhibit A is attached and made a part of this petition.

Location Case Number: Date Filed:
Where Filed: - None -
Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor: Case Number: Date Filed:
- None -
District: Relationship: Judge:
Exhibit A Exhibit B

(To be completed if debtor is an individual whose debts are primarily consumer debts.)

I, the attorney for the petitioner named in the foregoing petition, declare that ]
have informed the petitioner that [he or she] may proceed under chapter 7, 11,
12, or 13 of title 11, United States Code, and have explained the relief available

under each such chapter,

I further certify thal ddifvered to the debtor she nofice required by §342(b) of
the Ban! toy’ Chéfe.

x / 1 [31 Ob

Signature of Agorney for Debtor(s) Date
Mitchell 44 Nowack 0099661

 

Exhibit C
Does the debtor own or have possession of any property that poses or
is alleged to pose a threat of imminent and identifiable harm to public
health or safety?

D Yes, and Exhibit C is attached and made a part of this petition.

No

 

Certification Concerning Debt Counseling
by Individual/Joint Debtor(s)

WH I/we have received approved budget and credit counseling during
the 1 80-day period preceding the filing of this petition.

1 I/we request a waiver of the requirement to obtain budget and
credit counseling prior to filing based on exigent circumstances.
(Must attach certification describing.)

 

sought in this District.

Information Regarding the Debtor (Check the Applicable Boxes)
Venue (Check any applicable box)

gE Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.

oO There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

D Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
this District, or has no principal place of business or assets in the United States but is a defendant in an action or
proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief

 

Statement by a Debtor Who Resides as a Tenant of Residential Property
Check all applicable boxes.

Oo Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)

 

(Name of landlord that obtained judgment)

 

(Address of landlord)

possession was entered, and

after the filing of the petition.

 

Oo Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be
permitted to cure the entire monetary default that gave rise to the judgment for possession, after the judgment for

Oo Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period

 

 
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Form 6-Summ2
10/05)

United States Bankruptcy Court

Southern District of Florida

In re Guillermo Almeida, Case No.

 

Miriam Almeida

 

Debtors Chapter. 13

STATISTICAL SUMMARY OF CERTAIN LIABILITIES (28 U.S.C. § 159)
[Individual Debtors Only]

Summarize the following types of liabilities, as reported in the Schedules, and total them.

 

 

 

 

 

 

 

 

Type of Liability Amount
Domestic Support Obligations (from Schedule E) 0.00
Taxes and Certain Other Debts Owed to Governmental Units 0.00
(from Schedule E) .
Claims for Death or Personal Injury While Debtor Was Intoxicated 0.00
(from Schedule E) .
Student Loan Obligations (from Schedule F) 0.00
Domestic Support, Separation Agreement, and Divorce Decree 0.00
Obligations Not Reported on Schedule E .
Obligations to Pension or Profit-Sharing, and Other Similar Obligations 0.00
(from Schedule F) .
TOTAL 0.00

 

 

 

 

The foregoing information is for statistical purposes only under 28 U.S.C § 159.

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Form 6-Summary
(110/05)

In re Guillermo Almeida,
Miriam Almeida

United States Bankruptcy Court
Southern District of Florida

 

SUMMARY OF SCHEDULES

Debtors

Case No.

 

Chapter.

13

Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.

Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
also complete the "Statistical Summary of Certain Liabilities."

AMOUNTS SCHEDULED

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

NAME OF SCHEDULE ATTACHED | NO. OF ASSETS LIABILITIES
(YES/NO) | SHEETS OTHER
A - Real Property Yes 1 0.00
B - Personal Property Yes 4 12,465.19
C - Property Claimed as Exempt Yes 1
D - Creditors Holding Secured Yes 1 0.00
Claims
E - Creditors Holding Unsecured Yes 1 0.00
Priority Claims
F - Creditors Holding Unsecured Yes 11 53,227.17
Nonpriority Claims
G - Executory Contracts and Yes 1
Unexpired Leases
H - Codebtors Yes 1
I - Current Income of Individual Yes 1 3,896.63
Debtor(s)
J - Current Expenditures of Yes 4 3,338.98
Individual Debtor(s)
Total Number of Sheets of ALL Schedules 23
Total Assets 12,465.19
53,227.17

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Total Liabilities

 

 

 

Best Case Bankruptcy

 
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Form B6A
(10/05)

In re Guillermo Almeida, Case No.
Miriam Almeida

 

 

Debtors
SCHEDULE A. REAL PROPERTY

Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, or both own the property by placing an "H," "W," "J," or "C" in the column
labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under "Description and Location of Property."

Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.

If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim."

If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property
Claimed as Exempt.

 

Husband, Current Value of

Nature of Debtor's Wife, Debtor's Interest in

Property, without Amount of

Description and Location of Property

 

 

Interest in Property Joint, or Deductin 5 Secured Claim
. g any Secured
Community Claim or Exemption
None
Sub-Total > 0.00 (Total of this page)
Total > 0.00
© continuation sheets attached to the Schedule of Real Property (Report also on Summary of Schedules)

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Form B6B
(10/05)

Inre Guillermo Almeida, Case No.

 

Miriam Almeida

 

Debtors
SCHEDULE B. PERSONAL PROPERTY

Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, or both own the property by placing
an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint petition is filed, state the
amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.

If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
In providing the information requested in this schedule, do not include the name or address of a minor child. Simply state "a minor child.”

 

 

 

N Husband, Current Value of
‘oti , i Debtor
Type of Property N Description and Location of Property Joint’ or “ithout Deducting oy
E Community Secured Claim or Exemption
1. Cash on hand xX
2. Checking, savings or other financial Bank of America - checking Ww 40.00
accounts, certificates of deposit, or
shares in banks, savings and loan, Bank of America - Checking H 7.00
thrift, building and loan, and
homestead associations, or credit Bank of America - savings J 155.05
unions, brokerage houses, or
cooperatives.
3. Security deposits with public x
utilities, telephone companies,
landlords, and others.
4. Household goods and furnishings, Household Furnishings - see attached inventory J 1,085.00
including audio, video, and
computer equipment.
5. Books, pictures and other art X
objects, antiques, stamp, coin,
record, tape, compact disc, and
other collections or collectibles.
6. Wearing apparel. Debtor's Clothes Ww 100.00
Debtor's Clothes H 100.00
7. Furs and jewelry. 2 Watches - Seiko, Swiss Military, Reading Glasses, H 40.00
Reading Glasses, avon Earrings, 2 avon silver Ww 30.00
rings, watch avon brand
8. Firearms and sports, photographic, xX
and other hobby equipment.
9. Interests in insurance policies. Term Life Insurance - Stonebridge Life W 0.00
Name insurance company of each
policy and itemize surrender or
refund value of each.
Sub-Total > 1,557.05
(Total of this page)

3___ continuation sheets attached to the Schedule of Personal Property

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Form B6B
(10/05)

In re Guillermo Almeida, Case No.

 

Miriam Almeida

 

Debtors
SCHEDULE B. PERSONAL PROPERTY

(Continuation Sheet)

 

Husband, Current Value of
Wife, Debtor's Interest in Property,
Joint, or without Deducting any

Community Secured Claim or Exemption

Type of Property Description and Location of Property

 

x | MZOZ

10. Annuities. Itemize and name each
issuer,

11. Interests in an education IRA as xX
defined in 26 U.S.C. § 530(b)(1) or
under a qualified State tuition plan
as defined in 26 U.S.C. § 529(b)(1).
Give particulars. (File separately the
record(s) of any such interest(s).
11 U.S.C. § 521(c); Rule 1007(b)).

12. Interests in IRA, ERISA, Keogh, or IRA with the Vanguard Group Ww 2,183.14
other pension or profit sharing
plans. Give particulars.

13. Stock and interests in incorporated xX
and unincorporated businesses.
Itemize.

14. Interests in partnerships or joint x
ventures. Itemize.

15. Government and corporate bonds Xx
and other negotiable and
nonnegotiable instruments.

16. Accounts receivable. Xx

17. Alimony, maintenance, support,and X
property settlements to which the
debtor is or may be entitled. Give
particulars.

18. Other liquidated debts owing debtor xX
including tax refunds. Give
particulars.

19. Equitable or future interests, life Xx
estates, and rights or powers
exercisable for the benefit of the
debtor other than those listed in
Schedule A - Real Property.

20. Contingent and noncontingent x
interests in estate of a decedent,
death benefit plan, life insurance
policy, or trust.

 

Sub-Total > 2,183.14
(Total of this page)

Sheet 1 of _3__ continuation sheets attached

to the Schedule of Personal Property

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Form B6B

(10/05)

In re Guillermo Almeida,

Miriam Almeida

Case No.

 

 

Debtors
SCHEDULE B. PERSONAL PROPERTY

(Continuation Sheet)

 

Type of Property

Husband, Current Value of
Wife, Debtor's Interest in Property,
Joint, or without Deducting any

Community Secured Claim or Exemption

Description and Location of Property

 

21.

22.

23.

24.

25.

26.

27.

28.

29,

30.

31.

32.

33.

34.

Other contingent and unliquidated
claims of every nature, including
tax refunds, counterclaims of the
debtor, and rights to setoff claims.
Give estimated value of each.

Patents, copyrights, and other
intellectual property. Give
particulars.

Licenses, franchises, and other
general intangibles. Give
particulars.

Customer lists or other compilations
containing personally identifiable
information (as defined in 11 U.S.C.
§ 101(41A)) provided to the debtor
by individuals in connection with
obtaining a product or service from
the debtor primarily for personal,
family, or household purposes.

Automobiles, trucks, trailers, and
other vehicles and accessories.
Boats, motors, and accessories.
Aircraft and accessories.

Office equipment, furnishings, and
supplies.

Machinery, fixtures, equipment, and
supplies used in business.

Inventory.
Animals.

Crops - growing or harvested. Give
particulars.

Farming equipment and
implements.

Farm supplies, chemicals, and feed.

<x | mZ0OZz

1996 Dodge Neon - has over 146,000 miles J 950.00

1999 Chrysler Concord - has over 69,000 miles J 7,775.00

 

Sub-Total > 8,725.00
(Total of this page)

Sheet 2 of _3__ continuation sheets attached

to the Schedule of Personal Property

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Form B6B
(10/05)

In re Guillermo Almeida, Case No.

 

Miriam Almeida

 

Debtors
SCHEDULE B. PERSONAL PROPERTY

(Continuation Sheet)

 

Husband, Current Value of
Type of Property Description and Location of Property line’ or Debtors Interest dine py

Community Secured Claim or Exemption

 

x<— | MZOZ

35. Other personal property of any kind
not already listed. Itemize.

 

Sub-Total > 0.00
(Total of this page)
Total > 12,465.19
Sheet 3 of _3__ continuation sheets attached
to the Schedule of Personal Property (Report also on Summary of Schedules)

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Case 06-10295-RAM Doci Filed 01/31/06 Page 11 of 39

Furniture Inventory Debtor: { lméi da

Case No.

 

Room
Item
Sofa
Recliner
Chairs
Tables

VD

Wall Unit

Master Bedroom
Item

Bed

Dresser

Mirror

Tables

Wall Unit

TV

VCR/

DVD

Room
Item
Tables
Chairs
Cabinets
China (sets

First Bedroom
Item

Bed

Dresser

Tables

Wall Unit

TV

VCR

 
Case 06-10295-RAM Doci1

Second Bedroom
Item

Bed/Crib

Dresser

Tables

Wall Unit

TV

VCR

Den/Office
Item

Co
Monitor

Printer

Fax Machine
Desk
Bookshelves

Miscellaneous
Item
IS

Total Value for all Items

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Form B6C
(10/05)

In re Guillermo Almeida, Case No.

Miriam Almeida

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Debtor elects the exemptions to which debtor is entitled under:

Debtors
SCHEDULE C. PROPERTY CLAIMED AS EXEMPT

CO Check if debtor claims a homestead exemption that exceeds

 

 

(Check one box) $125,000.
OO 11 U.S.C. §522(b)(2)
Mi ii U.S.C. §522(b)(3)
: wa: Value of Current Value of
a Specify Law Providing : 1
Description of Property : Claimed Property Without
Each Exemption Exemption Deducting Exemption
Checking, Savings, or Other Financial Accounts, Certificates of Deposit
Bank of America - Checking Fla. Const. art. X, § 4(a)(2) 7.00 7.00
Bank of America - savings Fla. Const. art. X, § 4(a)(2) 155.05 155.05
Household Goods and Furnishings
Household Furnishings - see attached inventory Fla. Const. art. X, § 4(a)(2) 1,085.00 1,085.00
Wearing Apparel
Debtor's Clothes Fla. Const. art. X, § 4(a)(2) 100.00 100.00
Debtor's Clothes Fla. Const. art. X, § 4(a)(2) 100.00 100.00
Furs and Jewelry
2 Watches - Seiko, Swiss Military, Reading Fla. Const. art. X, § 4(a)(2) 40.00 40.00
Glasses,
Reading Glasses, avon Earrings, 2 avon silver Fla. Const. art. X, § 4(a)(2) 30.00 30.00
rings, watch avon brand
interests in IRA, ERISA, Keogh, or Other Pension or Profit Sharing Plans
IRA with the Vanguard Group Fla. Stat. Ann. §§ 121.131, 2,183.14 2,183.14
121.055(6)(e)
Automobiles, Trucks, Trailers, and Other Vehicles
1996 Dodge Neon - has over 146,000 miles Fla. Stat. Ann. § 222.25(1) 950.00 950.00
1999 Chrysler Concord - has over 69,000 miles Fla. Stat. Ann. § 222.25(1) 1,050.00 7,775.00
0 continuation sheets attached to Schedule of Property Claimed as Exempt
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Form B6D
(10/05)

In re Guillermo Almeida, Case No.

 

Miriam Almeida

 

Debtors

SCHEDULE D. CREDITORS HOLDING SECURED CLAIMS

State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property
of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee
and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens,
garnishments, statutory liens, mortgages, deeds of trust, and other security interests.

List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, indicate that by stating "a minor child" and do not disclose
the child's name. See 11 U.S.C§112; Fed.R.Bankr.P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor", include the entity
on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the
marital community may be liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community." If the
claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated”. If
the claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)

Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on
the Summary of Schedules.

ME sCheck this box if debtor has no creditors holding secured claims to report on this Schedule D.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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AND ACCOUNT NUMBER TYJ DESCRIPTION AND VALUE N] UT Vv ALUE OF ANY
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(See instructions above.) R SUBJECT TO LIEN E D D COLLATERAL
Account No. t E
D
Value $
Account No.
Value $
Account No.
Value $
Account No.
Value $
Subtotal
0 . .
continuation sheets attached (Total of this page)
Total 0.00
(Report on Summary of Schedules)

 

 

 

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Case 06-10295-RAM Doci_ Filed 01/31/06 Page 15 of 39

Form B6E
(10/05)

In re Guillermo Almeida, Case No.

 

Miriam Almeida

 

Debtors
SCHEDULE E. CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address,
including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the
debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.

The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
the debtor chooses to do so. If a minor child is a creditor, indicate that by stating "a minor child" and do not disclose the child’s name. See
11 U.S.C.§112; Fed.R.Bankr.P. 1007(m).

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor", include the
entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife, both of
them or the marital community may be liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or
Community”. If the claim is contingent, place an "X" in the column labeled “Contingent”. If the claim is unliquidated, place an "X" in the column
labeled "Unliquidated". If the claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one
of these three columns.)

Report the total of claims listed on each sheet in the box labeled "Subtotal" on each sheet. Report the total of all claims listed on this
Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotal" on each sheet. Report the total of all
amounts entitled to priority listed on this Schedule E in the box labeled "Total" on the last sheet of the completed schedule. If applicable, also
report this total on the Means Test form.

Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

OD Domestic support obligations

Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
11 U.S.C. § 507(a)(1).

O Extensions of credit in an involuntary case
Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier
of the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

OO Wages, salaries, and commissions

Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
independent sales representatives up to $10,000* per person earned within 180 days immediately preceding the filing of the original petition, or
the cessation of business, which ever occurred first, to the extent provided in 11 U.S.C. § 507 (a)(4).

C1 Contributions to employee benefit plans
Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

[J Certain farmers and fishermen
Claims of certain farmers and fishermen, up to $4,925* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

1 Deposits by individuals
Claims of individuals up to $2,225* for deposits for the purchase, lease, or rental of property or services for personal, family, or household
use, that were not delivered or provided. 11 U.S.C. § 507(a)(7).

0 Taxes and certain other debts owed to governmental units
Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C § 507(a)(8).

CJ Commitments to maintain the capital of an insured depository institution
Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507(a)(9).

(1 Claims for death or personal injury while debtor was intoxicated
Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).

*Amounts are subject to adjustment on April 1, 2007, and every three years thereafter with respect to cases commenced on or after the date of

adjustment. . .
J 0 continuation sheets attached

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Case 06-10295-RAM Doci_ Filed 01/31/06 Page 16 of 39

Form B6F
(10/05)

In re Guillermo Almeida, Case No.

 

Miriam Almeida

 

Debtors

SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without
priority against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor
has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, indicate
that by stating "a minor child" and do not disclose the child's name. See 11 U.S.C.§112; Fed.R.Bankr.P. 1007(m). Do not include claims listed in
Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor", include the entity
on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or
the marital community maybe liable on cach claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".

If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled
"Unliquidated”. If the claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three
columns.)

Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on
the Summary of Schedules.

C= Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CREDITOR'S NAME, 5 Husband, Wife, Joint, or Community 6 U D
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AND ACCOUNT NUMBER B|“| | CONSIDERATION FOR CLAIM. IF CLAIM =|) } +] AMOUNT OF CLAIM
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(See instructions above.) RIC Clots
NIA
Account No. 2006438751 Opened 12/01/03 TYE
Collection Sprint Pcs D
Afni, Inc.
Po Box 3427 H
Bloomington, IL 61702
1,206.00
Account No. Collection Account for Macys
Allied Data Corporation
13111 Westheimer, Ste 400 J
Houston, TX 77077
1.00
Account No. 3737-607682-61008 01/2003
Revolving Credit Card Debt
American Express
P.O.Box 36001 J
FL 33336-0001
51.00
Account No. 00674826772 04/22/2002
Services Rendered
AT&T Broadband
P.O. Box 173885 J
Denver, CO 80217-3885
109.58
an Subtotal 4,367.58
40 continuation sheets attached (Total of this page) , '

 

 

 

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Form B6F - Cont.
(10/05)

 

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In re Guillermo Almeida,

Miriam Almeida

Case No.

 

 

SCHEDULE F. CREDITORS H

Debtors

(Continuation Sheet)

OLDING UNSECURED NONPRIORITY CLAIMS

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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(See instructions.) R Elplp
NTA
Account No. Collection Account for Kendal Medical Center |* |
D
Attention, LLC
P.O. Box 2308 J
Sherman, TX 75091-2308
1,300.00
Account No. 727524159 06/25/05
Medical Services Rendered
Baptist Hospital of Miami
P.O. Box 025333 H
Miami, FL 33102-5333
100.00
Account No. 727417636 06/09/05
Medical Services Rendered
Baptist Hospital of Miami
P.O. Box 025333 H
Miami, FL 33102-5333
100.00
Account No. 727170326 05/06/05
Medical Services Rendered
Baptist Hospital of Miami
P.O. Box 025333 H
Miami, FL. 33102-5333
100.00
Account No. 17310 09/08/05
Medical Services Rendered
Bayside Ambulatory Center
3641 South Miami Avenue J
Miami, FL 33133
951.16
Sheet no. 1 of 10 sheets attached to Schedule of Subtotal 2 651.16
Creditors Holding Unsecured Nonpriority Claims (Total of this page) us

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Best Case Bankruptcy
Case 06-10295-RAM Doci_ Filed 01/31/06 Page 18 of 39

Form B6F - Cont.
(10/05)

In re Guillermo Almeida, Case No.

 

Miriam Almeida

 

Debtors
SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

(Continuation Sheet)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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: CONSIDERATION FOR CLAIM. IF CLAIM
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NIA
Account No. Services Rendered ae
D
Bellsouth
P.O. Box 1262 J
Charlotte, NC 28201-1262
1.00
Account No. 529115143477 Opened 10/01/97 Last Active 9/19/03
Revolving Credit Card Debt
Cap One Bk
Po Box 85520 J
Richmond, VA 23285
2,533.00
Account No. 529107157091 Opened 6/01/99 Last Active 9/18/03
Revolving Credit Card Debt
Cap One Bk
Po Box 85520 H
Richmond, VA 23285
2,404.00
Account No. 412174164391 Opened 12/01/99 Last Active 6/22/03
Revolving Credit Card Debt
Cap One Bk
Po Box 85520 Ww
Richmond, VA 23285
1,587.00
Account No. 6729740 Opened 3/01/05
Collection Account
Cavalry Portfolio Serv
4050 E Cotton Center Biv H
Phoenix, AZ 85040
647.00
Sheetno. 2 of 10 sheets attached to Schedule of Subtotal 7.172.00
Creditors Holding Unsecured Nonpriority Claims (Total of this page) —_—

 

 

 

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Case 06-10295-RAM Doci Filed 01/31/06 Page 19 of 39

Form B6F - Cont.
(10/05)

Guillermo Almeida,
Miriam Almeida

In re

Case No.

 

 

Debtors

SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

(Continuation Sheet)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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NIA
Account No. 5260315560006591 Opened 11/01/00 Last Active 10/19/05 T E
Revolving Credit Card Debt D
Chase
800 Brooksedge Bivd J
Westerville, OH 43081
5,915.00
Account No. 462120504113 Opened 3/01/01 Last Active 9/22/04
ChargeAccount
Citi
Po Box 6003 J
Hagerstown, MD 21747
1.00
Account No. 502489194 Opened 3/01/00 Last Active 4/30/03
ChargeAccount
Credit FirstNA
6275 Eastland Rd J
Brook Park, OH 44142
651.86
Account No. 6011-0043-3024-9034 Opened 3/01/02 Last Active 1/09/06
Revolving Credit Card Debt
Discover Fin Svs Llc
Po Box 15316 Wi
Wilmington, DE 19850
2,573.00
Account No. 040133T9 1/6/2006
Collection Account for Mercy Anesthesia
Financial Business Group Inc. Group
P.O. Box 260125 J
Hollywood, FL 33026
94.50
. heets attached to Schedule of Subtotal
Sheet no. 3 of 10 sheets attached to Schedule o ubtota 9,235.36

Creditors Holding Unsecured Nonpriority Claims

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Best Case Bankruptcy

 
Case 06-10295-RAM Doci Filed 01/31/06 Page 20 of 39

Form B6F - Cont.
(10/05)

Inre Guillermo Almeida,
Miriam Almeida

Case No.

 

 

Debtors

SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

(Continuation Sheet)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Account No. 6011766400564282 Opened 5/01/99 Last Active 9/18/03 T b
ChargeAccount D
Gateway/Cbusa Na
Po Box 9714 H
Gray, TN 37615
965.00
Account No. 11/13/2003
Automobile Accident Damages
Gilda Portalatin
%Lee L. Hinnant J
1550 S. Dixie Highway, Ste 209
Miami, FL 33146
1.00
Account No. 5440450062988559 Opened 5/01/00 Last Active 2/03/04
Revolving Credit Card Debt
Hsbc Nv
1441 Schilling Pl WwW
Salinas, CA 93901
1.00
Account No. 11/13/2003
Automobile Accident Damages
Jesus Portalatin
%Lee L. Hinnant J
1550 S. Dixie Highway, Ste 209
Miami, FL 33146
1.00
Account No. 722554243 05/26/2003
Collection Account for Baptist Hospital
Kendall Credit and Business Services
P.O. Box 430210 Ww
Miami, FL 33243-0210
50.00
Sheet no. 4 of 10 sheets attached to Schedule of Subtotal
1,018.00

Creditors Holding Unsecured Nonpriority Claims

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Best Case Bankruptcy

 
 

Case 06-10295-RAM Doci_ Filed 01/31/06 Page 21 of 39

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Form B6F - Cont.
(10/05)
In re Guillermo Almeida, Case No.
Miriam Almeida
Debtors
SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
(Continuation Sheet)
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AND ACCOUNT NUMBER oly IS SUBJECT TO SETOFF, SO STATE. S{r |e] AMOUNT OF CLAIM
(See instructions.) R Elolo
NIA
Account No. 7433648 10/19/2002 T L
Medical Services Rendered D
Kendall Medical Center
11750 SW 40 Street J
Miami, FL 33175
48.00
Account No. Collection Account for Capital One
Law Offices of Mitchell N. Kay
P.O. Box 9006 J
Smithtown, NY 11787-9006
1.00
Account No. Collection Account for Baptist Hospital
Law Offices of Pollack and Rosen
800 Douglas Road J
Ste 450, North Tower
Miami, FL 33134
1.00
Account No. 4775896235720 Opened 10/01/00 Last Active 12/21/01
ChargeAccount
Macys/Fdsb
13141 34th StN H
Clearwater, FL 33762
693.00
Account No. 749-93968-034-956 Opened 1/01/00 Last Active 11/01/00
Revolving Credit Card Debt
Mbna America
Po Box 17054 H
Wilmington, DE 19884
851.00
Sheet no. 5 of 10 sheets attached to Schedule of Subtotal 4,594.00
Creditors Holding Unsecured Nonpriority Claims (Total of this page) oO

 

 

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Best Case Bankruptcy

 
Form B6F - Cont.
10/05)

In re

Guillermo Almeida,
Miriam Almeida

Case 06-10295-RAM Doci_ Filed 01/31/06 Page 22 of 39

Case No.

 

 

Debtors

SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

(Continuation Sheet)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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NIA
Account No. 8510079220 Opened 4/01/05 Tt
Collection Account D
Midland Credit Mgmt
8875 Aero Dr Wi
San Diego, CA 92123
3,051.00
Account No. 8513929951 Opened 11/01/05
Collection Account
Midland Credit Mgmt
8875 Aero Dr H
San Diego, CA 92123
503.00
Account No. 8513941834 Opened 11/01/05
Collection Account
Midland Credit Mgmt
8875 Aero Dr H
San Diego, CA 92123
340.00
Account No. 8513929952 Opened 11/01/05
Collection Account
Midland Credit Mgmt
8875 Aero Dr H
San Diego, CA 92123
308.00
Account No. Collection account for Capital One
NCO Financial Systems
P.O. Box 41417 J
Philadelphia, PA 19101
2,533.91
Sheet no. 6 of 10 sheets attached to Schedule of Subtotal 6.735.91
Creditors Holding Unsecured Nonpriority Claims (Total of this page) ao

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Best Case Bankruptcy

 
Form B6F - Cont.
(10/05)

In re
Miriam Almeida

Case 06-10295-RAM Doci_ Filed 01/31/06 Page 23 of 39

Guillermo Almeida,

 

Debtors

Case No.

 

SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

(Continuation Sheet)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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NIA
Account No. 6231976 Opened 12/01/02 ft
Collection Med1kendall Medical D
Neco Financial Systems In
Pob 13584 Ww
Philadelphia, PA 19101
400.00
Account No. 24063918 Opened 2/01/05
Collection Emergency Phys Kenda
Nco-Medcir
Po Box 8547 H
Philadelphia, PA 19101
394.00
Account No. Collection Account for Citibank
Northland Group inc.
P.O. Box 390905 J
Minneapolis, MN 55439
757.35
Account No. 3500772591 8/12/2005
Services Rendered
Quest Diagnostic Inc.
P.O. Box 41652 J
Philadelphia, PA 19101-1652
261.75
Account No. 005064 07/12/2004
Medical Services Rendered
Raul G. Molina, Jr. DDS, PA
10141 SW 40 Street J
Miami, FL 33165
300.00
Sheet no. 7 of 10 sheets attached to Schedule of Subtotal
2,113.10

Creditors Holding Unsecured Nonpriority Claims

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Best Case Bankruptcy

 
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(10/05)

Guillermo Almeida,
Miriam Almeida

In re

Case No.

 

Debtors

 

SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

(Continuation Sheet)

 

CREDITOR'S NAME,

band, Wife, Joint, or Community

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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D
ANCLUDING uIP ores E | w COP ATE CLAIM WAS INCURRED AND i i P
, IDERATION FOR CLAIM. IF CLAIM
AND ACCOUNT NUMBER T Yd N/UTT | AMOUNT OF CLAIM
(See instructions.) Q Cc IS SUBJECT TO SETOFF, SO STATE. S t E
NIA
Account No. 914314844 Opened 1/01/01 Last Active 9/21/04 TW
ChargeAccount D
Shell/Citi
Po Box 6003 J
Hagerstown, MD 21747
351.24
Account No. 5/4/2005
Services Rendered
Sprint PCS
P.O. Box 740602 J
Cincinnati, OH 45274-0602
1,206.02
Account No. 02-4845-CC-25-1 11/13/2000
Automobile Accident Damages
State Farm Mutual Automobile Ins. Co.
%Lee L. Hinnant J
1550 S Dixie Highway, Ste 209
Miami, FL 33146
6,558.80
Account No. 11/13/2003
Automobile Accident Damages
State of Florida Bureau of Financial
Responsibilities,Neil Kirkman Bldg J
290 Apalachee Pkwy
Tallahassee, FL 32399-0685
1.00
Account No. Collection Account for Citibank
United Recovery Systems
P.O. Box 722929 J
Houston, TX 77272-2929
1.00
Sh . f heets attached to Schedule of Subtotal
eetno. 8 of 10 sheets attached to Schedule o ubtota! 8,118.06

Creditors Holding Unsecured Nonpriority Claims

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Best Case Bankruptcy

 
 

Case 06-10295-RAM Doci Filed 01/31/06 Page 25 of 39

Form B6F - Cont.
(10/05)

Guillermo Almeida,
Miriam Almeida

In re

Case No.

 

Debtors

 

SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

(Continuation Sheet)

 

CREDITOR'S NAME,

Husband, Wife, Joint, or Community

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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N AILIN D N
ANCL ODIO ees s E W COS ATE CLAIM WAS INCURRED AND 7 ( P
> RATION FOR CLAIM. IF CLAIM
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NIA
Account No. 2623520521 Opened 4/01/02 Last Active 11/16/05 Tle
Educational D
Us Dept Of Education
501 Bleecker St Ww
Utica, NY 13501
6,677.00
Account No. 25021160232200001 Opened 12/01/01
ChargeAccount
Verizon Wireless
One Verizon Place H
Alpharetta, GA 30004
1.00
Account No. 25021160232200002 Opened 6/01/02
ChargeAccount
Verizon Wireless
One Verizon Place H
Alpharetta, GA 30004
1.00
Account No. 25061217519300001 Opened 4/01/02
ChargeAccount
Verizon Wireless
One Verizon Place H
Alpharetta, GA 30004
1.00
Account No. 4031-1307-0080-6219 Opened 7/01/99 Last Active 1/13/06
Revolving Credit Card Debt
Wash Mutual/Providian
4900 Johnson Dr WwW
Pleasanton, CA 94588
5,043.00
Sheet no. 9 of 10 sheets attached to Schedule of Subtotal
9 oF _10 11,723.00

Creditors Holding Unsecured Nonpriority Claims

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(Total of this page)

 

 

Best Case Bankruptcy

 
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Form B6F - Cont.
(10/05)

Guillermo Almeida,
Miriam Almeida

In re

Case No.

 

 

Debtors

SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

(Continuation Sheet)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CREDITOR'S NAME 6 Husband, Wife, Joint, or Community 6 N p
AND MAILING ADDRESS D N/L JS
INCLUDING ZIP CODE E w conse AR WAS INCURRED AND 7 L F
2 ER. IN FOR CLAIM. IF CLAIM
AND ACCOUNT NUMBER T IJ N}UIT} AMOUNT OF CLAIM
: . B
(See instructions.) Q Cc IS SUBJECT TO SETOFF, SO STATE. G \ E
NIA
Account No. 2891061 Opened 4/01/01 "TE
Collection Kendall Medical Cent D
West Asset Management
220 Sunset Blvd Ste A H
Sherman, TX 75092
1,599.00
Account No.
Account No.
Account No.
Account No.
Sheetno. 10 of 10 sheets attached to Schedule of Subtotal 4,599.00
Creditors Holding Unsecured Nonpriority Claims (Total of this page) , ,
Total
53,227.17

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(Report on Summary of Schedules)

 

 

Best Case Bankruptcy

 
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Form B6G
(10/05)

In re Guillermo Almeida, Case No.

 

Miriam Aimeida

 

Debtors
SCHEDULE G. EXECUTORY CONTRACTS AND UNEXPIRED LEASES

Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
of debtor's interest in contract, i.c., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
indicate that by stating "a minor child" and do not disclose the child's name. See 11 U.S.C. § 112; Fed.R. Bankr. P. 1007(m).

Wi Check this box if debtor has no executory contracts or unexpired leases.

Description of Contract or Lease and Nature of Debtor's Interest.
tate whether lease is for nonresidential real property.
State contract number of any government contract.

Name and Mailing Address, Including Zip Code,
of Other Parties to Lease or Contract

0 continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases

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Case 06-10295-RAM Doci Filed 01/31/06 Page 28 of 39

 

 

(00s)
In re Guillermo Almeida, Case No.
Miriam Almeida
Debtors
SCHEDULE H. CODEBTORS

Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
indicate that by stating "a minor child" and do not disclose the child's name. See 11 U.S.C. § 112; Fed. Bankr. P. 1007(m).
M Check this box if debtor has no codebtors.

NAME AND ADDRESS OF CODEBTOR NAME AND ADDRESS OF CREDITOR

 

0 continuation sheets attached to Schedule of Codebtors

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Form B6I
(10/05)

Guillermo Almeida

Inre Miriam Almeida Case No.

 

Debtor(s)

SCHEDULE I. CURRENT INCOME OF INDIVIDUAL DEBTOR(S)

 

The column labeled "Spouse" must be completed in all cases filed by joint debtors and by a married debtor in a chapter 7, 11, 12, or 13 case whether

or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor's Marital Status: DEPENDENTS OF DEBTOR AND SPOUSE
RELATIONSHIP: AGE:
Married None.
Employment: DEBTOR SPOUSE
Occupation Maintence Bookeeper
Name of Employer United Property Management, Inc. ARCA Accounting, Inc.
How long employed 5 years 6 Years
Address of Employer 16900 N Bay Road 3785 NW 82 Avenue, Ste 109
Sunny Isles, FL Miami, FL 33166
INCOME: (Estimate of average monthly income) DEBTOR SPOUSE
1. Current monthly gross wages, salary, and commissions (Prorate if not paid monthly.) $ 1,603.75 $ 3,333.34
2. Estimate monthly overtime $ 0.00 $ 0.00
3. SUBTOTAL | $ 1,603.75 $ 3,333.34]
4. LESS PAYROLL DEDUCTIONS
a. Payroll taxes and social security $ 300.32 $ 541.00
b. Insurance $ 0.00 $ 286.48
c. Union dues $ 0.00 $ 0.00
d. Other (Specify): Uniforms $ 26.00 $ 0.00
IRA $ 0.00 $ 66.66
5. SUBTOTAL OF PAYROLL DEDUCTIONS $ 326.32 § 894.14
6. TOTAL NET MONTHLY TAKE HOME PAY $____1,277.43— § 2,439.20
7. Regular income from operation of business or profession or farm. (Attach detailed statement) $ 0.00 $ 0.00
8. Income from real property $ 0.00 $ 0.00
9. Interest and dividends $ 0.00 $ 0.00
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or
that of dependents listed above. $ 0.00 $ 0.00
11. Social security or other government assistance
(Specify): $ 0.00 $ 0.00
$ 0.00 $ 0.00
12. Pension or retirement income $ 0.00 $ 0.00
13. Other monthly income
(Specify): Auto Reimbursement $ 150.00 $ 0.00
Cellular Reimbursement $ 30.00 $ 0.00
14. SUBTOTAL OF LINES 7 THROUGH 13 $____——s«‘180.00 $ 0.00
15. TOTAL MONTHLY INCOME (Add amounts shown on lines 6 and 14) $1,457.43 §_ 2,439.20

 

 

 

16. TOTAL COMBINED MONTHLY INCOME: * 3,896.63

(Report also on Summary of

Schedules)

17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this

document:
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Form B6J
(10/05)

Guillermo Almeida
Inre Miriam Almeida Case No.

Debtor(s)

 

SCHEDULE J. CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)

Complete this schedule by estimating the average monthly expenses of the debtor and the debtor's family. Pro rate any payments

made bi-weekly, quarterly, semi-annually, or annually to show monthly rate.

O Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of

expenditures labeled "Spouse."

1. Rent or home mortgage payment (include lot rented for mobile home)
a. Are real estate taxes included? Yes No_X_
b. Is property insurance included? Yes_ No_X_
2. Utilities: a. Electricity and heating fuel
b. Water and sewer
c. Telephone
d. Other Cellular Phone for 2 phones
3. Home maintenance (repairs and upkeep)
4. Food
5. Clothing
6. Laundry and dry cleaning
7. Medical and dental expenses
8. Transportation (not including car payments)
9. Recreation, clubs and entertainment, newspapers, magazines, etc.
10. Charitable contributions
11. Insurance (not deducted from wages or included in home mortgage payments)
a. Homeowner's or renter's
b. Life
c. Health
d. Auto
e. Other
12. Taxes (not deducted from wages or included in home mortgage payments)
(Specify)
13. Installment payments: (In chapter 11, 12 and 13 cases, do not list payments to be included in the
plan.)

 

 

a. Auto
b. Other Storage Unit
c. Other
d. Other
14. Alimony, maintenance, and support paid to others
15. Payments for support of additional dependents not living at your home
16, Regular expenses from operation of business, profession, or farm (attach detailed statement)
17. Other Tolls
Other

 

 

 

 

 

18. TOTAL MONTHLY EXPENSES (Report also on Summary of Schedules)

19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:

I,

 

20. STATEMENT OF MONTHLY NET INCOME

a. Total monthly income from Line 16 of Schedule I
b. Total monthly expenses from Line 18 above

c. Monthly net income (a. minus b.)

$ 1,150.00

165.00
0.00
0.00

150.90
0.00

550.00

35.00
85.00

400.00

453.98
0.00
0.00

FAA AFA FAFA FAFA H SF

0.00
9.95
0.00
251.00
0.00

1 tot]

Pa AAA DH

0.00

A

0.00
48.15
0.00
0.00
0.00
0.00
0.00
40.00
0.00

3,338.98

PFA PAA FA FAHAFA SH

3,896.63
3,338.98
557.65

FARAH
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Official Form 6-Decl.

 

(40/05)
United States Bankruptcy Court
Southern District of Florida
Guillermo Almeida
Inte Miriam Almeida Case No.
Debtor(s) Chapter 13

 

 

DECLARATION CONCERNING DEBTOR'S SCHEDULES

DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

that I have read the foregoing summary and schedules, consisting of

I declare under penalty of perjury
at they are true and correct to the best of my

_ 25 _ sheets [i total shown on summary page plus 2], and th
knowledge, information, and belief.

 

 

 

 

} -
Date i (2, lo Yy Signature _ TN Lien et om, fee “pee
Oo Guillermo Almeida a
Debtor “a
Date | 3/ a Y Signature Cie pa he ee
1 Miriam Almeida :
Joint Debtor

statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.

Penalty for making a false
18 U.S.C. §§ 152 and 3571.

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Official Form 7
(10/05)

United States Bankruptcy Court
Southern District of Florida

Guillermo Almeida
Inre Miriam Almeida Case No.

 

Debtor(s} Chapter 13

STATEMENT OF FINANCIAL AFFAIRS

This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. Do not include the name or address of a minor child in this statement. Indicate payments,
transfers and the like to minor children by stating "a minor child." See 1] USS.C. § 112; Fed. R. Bankr. P. 1007(m).

Questions 1 - 18 are to be completed by al! debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.

DEFINITIONS

“In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in
business" for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income
from the debtor's primary employment.

"Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11
U.S.C. § 101.

 

1. Income from employment or operation of business

None State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
Oo business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
petition is filed, unless the spouses are separated and a joint petition is not filed.)

AMOUNT SOURCE

$50,711.00 Information obtained from Joint Income Tax Returns
$53,341.00 Information obtained from Joint Income Tax Returns
$693.93 Husband - Wages - amount estimated

$1,666.67 Wife - Wages - amount estimated

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2. Income other than from employment or operation of business

None State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
a during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income
for each spouse separately. (M arried debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a
joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

AMOUNT SOURCE
3. Payments to creditors
None Complete a. or b., as appropriate, and c.

a. Individual or joint debtor(s) with primarily consumer debts. List all payments on loans, installment purchases of goods or
services, and other debts to any creditor made within 90 days immediately preceding the commencement of this case if the aggregate
value of all property that constitutes or is affected by such transfer is not less than $600. Indicate with an (*) any payments that were
made to a creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an
approved nonprofit budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include
payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
filed.)

NAME AND ADDRESS DATES OF AMOUNT STILL
OF CREDITOR PAYMENTS AMOUNT PAID OWING

None b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
a immediately preceding the commencement of the case if the aggregate value of all property that constitutes or is affected by such
transfer is not less than $5,000. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses
whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

AMOUNT
DATES OF PAID OR
PAYMENTS/ VALUE OF AMOUNT STILL
NAME AND ADDRESS OF CREDITOR TRANSFERS TRANSFERS OWING

None. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
a creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR AND AMOUNT STILL
RELATIONSHIP TO DEBTOR DATE OF PAYMENT AMOUNT PAID OWING

4, Suits and administrative proceedings, executions, garnishments and attachments
None a, List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of

oO this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

CAPTION OF SUIT COURT OR AGENCY STATUS OR
AND CASE NUMBER NATURE OF PROCEEDING AND LOCATION DISPOSITION
State Farm Mutual Automobile Accident Miami-Dade County Final Judgment
Automobile Insurance Damages Courthouse

Company 73 W Flagler Street

v. Miami, FL 33130
Guillermo Almeida, Miriam
Almeida, Guillermo Almeida,

Jr.,

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3
None _ b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
a preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
filed.)
NAME AND ADDRESS OF PERSON FOR WHOSE DESCRIPTION AND VALUE OF
BENEFIT PROPERTY WAS SEIZED DATE OF SEIZURE PROPERTY

5. Repossessions, foreclosures and returns

None List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
a returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
spouses are separated and a joint petition is not filed.)

DATE OF REPOSSESSION,
NAME AND ADDRESS OF FORECLOSURE SALE, DESCRIPTION AND VALUE OF
CREDITOR OR SELLER TRANSFER OR RETURN PROPERTY

6. Assignments and receiverships

None —q, Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
a this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

DATE OF
NAME AND ADDRESS OF ASSIGNEE ASSIGNMENT TERMS OF ASSIGNMENT OR SETTLEMENT
None __ b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
a preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
filed.)
NAME AND LOCATION
NAME AND ADDRESS OF COURT DATE OF DESCRIPTION AND VALUE OF
OF CUSTODIAN CASE TITLE & NUMBER ORDER PROPERTY
7. Gifts

None List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
a and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF RELATIONSHIP TO DESCRIPTION AND
PERSON OR ORGANIZATION DEBTOR, IF ANY DATE OF GIFT VALUE OF GIFT
8. Losses

None _List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
a since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

DESCRIPTION OF CIRCUMSTANCES AND, IF

DESCRIPTION AND VALUE LOSS WAS COVERED IN WHOLE OR IN PART
OF PROPERTY BY INSURANCE, GIVE PARTICULARS DATE OF LOSS

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4
9, Payments related to debt counseling or bankruptcy
None List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation

oO concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year

immediately preceding the commencement of this case.
DATE OF PAYMENT, AMOUNT OF MONEY
NAME AND ADDRESS NAME OF PAYOR IF OTHER OR DESCRIPTION AND VALUE
OF PAYEE THAN DEBTOR OF PROPERTY
Law Office of Mitchell J. Nowack, P.A. January 27, 2005 $550.00 attorneys fees and
8180 N.W. 36th Street costs
Suite 229
Doral, FL 33166
10. Other transfers
None q,_List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,

a transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF TRANSFEREE, DESCRIBE PROPERTY TRANSFERRED
RELATIONSHIP TO DEBTOR DATE AND VALUE RECEIVED
None _ b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
a trust or similar device of which the debtor is a beneficiary.
NAME OF TRUST OR OTHER AMOUNT OF MONEY OR DESCRIPTION AND
DEVICE DATE(S) OF VALUE OF PROPERTY OR DEBTOR'S INTEREST
TRANSFER(S) IN PROPERTY
11. Closed financial accounts
None List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or

a otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13
must include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed.)

TYPE OF ACCOUNT, LAST FOUR
DIGITS OF ACCOUNT NUMBER, AMOUNT AND DATE OF SALE
NAME AND ADDRESS OF INSTITUTION AND AMOUNT OF FINAL BALANCE OR CLOSING
12. Safe deposit boxes
None List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year

a immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
filed.)

NAMES AND ADDRESSES
NAME AND ADDRESS OF BANK OF THOSE WITH ACCESS DESCRIPTION DATE OF TRANSFER OR
OR OTHER DEPOSITORY TO BOX OR DEPOSITORY OF CONTENTS SURRENDER, IF ANY
13. Setoffs

None List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
a commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR DATE OF SETOFF AMOUNT OF SETOFF

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14. Property held for another person

None List all property owned by another person that the debtor holds or controls.
a

DESCRIPTION AND VALUE OF
NAME AND ADDRESS OF OWNER PROPERTY LOCATION OF PROPERTY

15, Prior address of debtor

None [If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
oO occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
address of either spouse.

ADDRESS NAME USED DATES OF OCCUPANCY
9631 Fountainbleu Bivd., #301 Same as filing October 2002 thur October
Miami, FL 33172 2005

16. Spouses and Former Spouses

None _[f the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California,
a Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
the community property state.

NAME
17. Environmental Information.
For the purpose of this question, the following definitions apply:
"Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited

to, statutes or regulations regulating the cleanup of these substances, wastes, or material.

"Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
owned or operated by the debtor, including, but not limited to, disposal sites.

"Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
pollutant, or contaminant or similar term under an Environmental Law

None a, List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be
B liable or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if
known, the Environmental Law:

NAME AND ADDRESS OF DATE OF ENVIRONMENTAL
SITE NAME AND ADDRESS GOVERNMENTAL UNIT NOTICE LAW
None _ b, List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
a Material. Indicate the governmental unit to which the notice was sent and the date of the notice.
NAME AND ADDRESS OF DATE OF ENVIRONMENTAL
SITE NAME AND ADDRESS GOVERNMENTAL UNIT NOTICE LAW

None _ ¢, List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
a the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
docket number.

NAME AND ADDRESS OF
GOVERNMENTAL UNIT DOCKET NUMBER STATUS OR DISPOSITION

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18 . Nature, location and name of business

None a, If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
a ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity

securities within six years immediately preceding the commencement of this case.

If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
years immediately preceding the commencement of this case.

If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
years immediately preceding the commencement of this case.

LAST FOUR DIGITS
OF SOC. SEC. NO./
COMPLETE EIN OR

OTHER TAXPAYER BEGINNING AND
NAME 1.D. NO. ADDRESS NATURE OF BUSINESS ENDING DATES
None __ b, Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.
a
NAME ADDRESS

The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor or self-employed in a trade, profession, or other activity, either full- or part-time.

(An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

19. Books, records and financial statements

None —q, List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or

a supervised the keeping of books of account and records of the debtor.
NAME AND ADDRESS DATES SERVICES RENDERED
None _ b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the
| books of account and records, or prepared a financial statement of the debtor.
NAME ADDRESS DATES SERVICES RENDERED
None _ c, List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
a of the debtor. If any of the books of account and records are not available, explain.
NAME ADDRESS
None d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
a issued by the debtor within two years immediately preceding the commencement of this case.
NAME AND ADDRESS DATE ISSUED

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20. Inventories

None q, List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
a and the dollar amount and basis of each inventory.

DOLLAR AMOUNT OF INVENTORY
DATE OF INVENTORY INVENTORY SUPERVISOR (Specify cost, market or other basis)

None __, List the name and address of the person having possession of the records of each of the two inventories reported in a., above.

NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
DATE OF INVENTORY RECORDS

21 . Current Partners, Officers, Directors and Shareholders

None q. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.

a
NAME AND ADDRESS NATURE OF INTEREST PERCENTAGE OF INTEREST

None __ b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
a controls, or holds 5 percent or more of the voting or equity securities of the corporation.

NATURE AND PERCENTAGE
NAME AND ADDRESS TITLE OF STOCK OWNERSHIP

22 . Former partners, officers, directors and shareholders

None a, If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the

a commencement of this case.
NAME ADDRESS DATE OF WITHDRAWAL
None _ b, If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
a immediately preceding the commencement of this case.
NAME AND ADDRESS TITLE DATE OF TERMINATION

23 . Withdrawals from a partnership or distributions by a corporation

None _]f the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
a in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
commencement of this case.

NAME & ADDRESS AMOUNT OF MONEY
OF RECIPIENT, DATE AND PURPOSE OR DESCRIPTION AND
RELATIONSHIP TO DEBTOR OF WITHDRAWAL VALUE OF PROPERTY

24, Tax Consolidation Group.

None _[f the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated

a group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
of the case.
NAME OF PARENT CORPORATION TAXPAYER IDENTIFICATION NUMBER (EIN)

25, Pension Funds.

None f the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as
a an employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

NAME OF PENSION FUND TAXPAYER IDENTIFICATION NUMBER (EIN)

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DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto

and that they are true and correct. a

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oe —, oe
Date OC) 1 -PE-OL Signatire — OO ee 2 Civ ae as Sgro.
Guillermo Almeida LO

Debtor~

Date / / Sy Me b Signatur Y J fiisiore Ji Lawsbe

Miriapt Almeida
Joint Debtor
500,000 or imprisonment for up to 5 years, or both.

 

Penalty for making a false statement: Fine of up to § 18 U.S.C. §§ 152 and 3571

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